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UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2023-90342
      Envision Healthcare Corporation
      First Day Hearing




      Case Type :                    bk
      Case Number :                  2023-90342
      Case Title :                   Envision Healthcare Corporation

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